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 6   Attorney for Defendant,
     ANDREW CONWAY
 7

 8                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:06-cr-00476-MCE

12              Plaintiff,                                 STIPULATION AND ORDER

13        vs.                                              DATE: March 6, 2008
                                                           TIME: 9:00 AM
14   ANDREW CONWAY,                                        JUDGE: Hon. Morrison England
15              Defendant.
16

17
            It is hereby stipulated and agreed to between the United States of America through Jason
18
     Hitt, Assistant U.S. Attorney, and defendant Andrew Conway, by and through his attorney, Dan
19
     Koukol, that the status conference of March 6, 2008 be vacated and that a status conference be
20
     set for April 3, 2008 at 9:00 AM.
21

22          This continuance is being requested because the parties need additional time to discuss

23   the case with the government and negotiate plea agreements. Counsel must review recently

24   received discovery material and discuss this material with his client.

25          The parties request that the speedy trial time is excluded from the date of this order
26   through the date of the status conference set for April 3, 2008 at 9:00 AM pursuant to 18 U.S.C.
27
     § 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).
28                                                   -1-
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 1
     DATED: MARCH 4, 2008        Respectfully submitted,
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 3
                                 /s/ DAN KOUKOL
 4
                                 _________________________________
                                 DAN KOUKOL
 5                               Attorney for defendant Andrew Conway

 6

 7   DATED: MARCH 4, 2008        Respectfully submitted,

 8
                                 /s/ DAN KOUKOL FOR
 9
                                 _________________________________
10
                                 Jason Hitt
                                 Assistant U.S. Attorney
11
     IT IS SO ORDERED
12
     DATED: March 13, 2008
13
                                 __________________________________
14                               MORRISON C. ENGLAND, JR
                                 UNITED STATES DISTRICT JUDGE
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